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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA

1) PAULS VALLEY HOSPITAL                     )
HOSPITAL AUTHORITY D/B/A                     )
PAULS VALLEY GENERAL                         )
HOSPITAL,                                    )
                                             )
                Plaintiff,                   )
                                             )
vs.                                          )       Case No. 18-CIV-826-F
                                             )
1) NEWLIGHT HEALTH CARE, LLC,                )
2) LTC GROUP, LLC,                           )
3) FIRST UNITED BANK AND TRUST               )
COMPANY,                                     )
                                             )
                Defendants.                  )

                      NOTICE OF DISCLAIMER OF INTEREST

        COMES NOW First United Bank and Trust Co. and acknowledges service of

process and receipt of a copy of the Petition filed herein, and hereby disclaims any

interest in and to the personal property which is the subject of this action as particularly

described in Plaintiff’s Petition.



                                             Respectfully Submitted,


                                             __s/Heather Burrage________________
                                             Heather Hillburn Burrage, OBA #19423
                                             BURRAGE LAW FIRM
                                             1201 Westside Drive
                                             P.O. Box 1727
                                             Durant, OK 74702-1727
                                             Telephone: 580-920-0700
                                             Facsimile: 580-920-0702
                                             Attorney for Defendant First United Bank &
                                             Trust Co.
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                             CERTIFICATE OF SERVICE

        I hereby certify that on September 4, 2018, I electronically transmitted the
attached document to the Clerk of the Court using the ECF System for filing. Based on
the records currently on file, the Clerk of the Court will transmit a Notice of Electronic
Filing to the following ECF registrants:

      Brett Agee
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                                                      s/Heather Burrage
